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                           UNITED STATES DISTRICT CUURT
                           SO UTHERN DISTRICT O F FLO RIDA
                                                                       FILED BY                  D.C .

                               case No.1j-20804-CR-FAM                        2E2 0S 2215
                                                                              ANGELA E.NOBLE
                                                                             CLERK U S DISQ CI
  IN RE SEALED INDICTM ENT                                                   s.D.oF/tA.-w.RB.
                                   /


                                   UNSEALING ORDER

        THIS CAUSE cam e before this Coud on the Governm ent's M otion to Unsealthe

  lndictm ent,in this m atter.The Coud being fully advised ïn the prem ises,itis hereby

        O RDERED AND ADJUDG ED thatthe Governm ent's M otion is hereby

  G RANTED,and the Clerk ofthe Cot'
                                  lrtshallunsealthe Indictment,in this m atter.
                    '                                                 e/
        DONE AND ORDERED atWestPalm Beach,Florida,this                 'X ay
        ofDetem ber,2019.


                                               fa-L . '
                                                 .
                                                     - -


                                             W ILLIAM MATT EW MAN
                                             UNITED STATE MAG ISTRATE JUDG E


  cc:AUSA J.MACKENZIE DUANE
